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 6
                                  UNITED STATES DISTRICT COURT
 7                               NOTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
 8
     UNITED STATES OF AMERICA,                                Case No.: CR 21-0121 JD
 9
                    Plaintiff,
                                                              DEFENDANT’S SENTENCING
10                                                            MEMORANDUM AND MOTION
            vs.                                               FOR VARIANCE
11
     JESSIE RUSH,
12                                                            Date: January 10, 2022
                    Defendant                                 Time: 10:30 a.m.
13                                                            Honorable James Donato

14          Defendant Jessie Rush respectfully submits the following sentencing memorandum and

15   motion for variance.

16                                          INTRODUCTION

17          Mr. Rush is a severely damaged individual who made a serious mistake in the context of

18   an unusual culmination of factors – the pandemic, social unrest, loss of his job, extreme

19   (political and other) polarization in the country, and targeted (mis)information on social media

20   platforms – that exacerbated his worst fears, paranoia, and vulnerabilities. Those fears and

21   paranoia were largely borne from a life filled with psychological, emotional, and physical injury,

22   much of which was sustained serving his country in combat. This led to him feeling the need to

23   surround himself with a community and prepare for the worst “if” certain events came to unfold.

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 1          During this period of time, he expressed very concerning statements about violence

 2   against law enforcement with his fellow Grizzly Scouts and, after learning that Steven Carrillo

 3   killed a protective services officer, reacted by attempting to delete evidence and any connection

 4   between himself and his fellow Grizzly Scouts’ connection to Mr. Carrillo. He knows what he

 5   did was wrong, is full of shame, and punishes himself daily. (See Ex. A, Statement of Jessie

 6   Rush). He has accepted responsibility for his actions and will accept any punishment imposed by

 7   the Court.

 8          As can be seen from Mr. Rush’s history, this is aberrational conduct. He is not someone

 9   who has led a life of crime, preyed on others, or acted selfishly. To the contrary, his history

10   shows an intention to work for and serve others: putting himself in harm’s way to protect his

11   younger brother; participating in the Sea Cadet and Police Explorer programs in high school;

12   enlisting in the military at age 17, including two tours of heavy combat in Afghanistan during

13   which he suffered serious psychological and physical injuries; after war, trying to save a young

14   child; working as a firefighter and EMT; and then immediately preceding the offense conduct,

15   working in private security researching and assessing threats to those he was hired to protect.

16          While this work was honorable, for a young man whose life was replete with serious

17   psychological and physical abuse, lack of stability, and a broken home, this was all a recipe for

18   disaster. As Mr. Rush explains, he has a history of “compounding” his problems: instead of

19   dealing with and processing past trauma, he has moved from one traumatic experience to the

20   next. But he has shown that since the search of his house in August, 2020, he has made

21   significant strides in addressing his issues: he communicated with the agents in this case,

22   sending them information he learned of through work that he thought they might find useful

23   prior to the January 6 coup attempt; when agents asked to meet with him (a ruse to arrest him),

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 1   he drove to a local police station where he was arrested without issue; during pretrial release, he

 2   found employment, actively engaged in therapy, and been of perfect compliance. Since his

 3   arrest, he has shown a real willingness, desire, and ability to address his past. This has included

 4   removing the toxicity from his life and focusing on healthy living and stress management;

 5   engaging with family members and pro-social behaviors; working at a job that he has found

 6   rewarding that allows him to give back in a way that does not add or compound more trauma.

 7          As a result, one of the leading experts in evaluating and treating complex PTSD in

 8   combat veterans opines that Mr. Rush is an excellent candidate for successful treatment

 9   (discussed below).

10                                                   ***

11          This Court is tasked with crafting a sentence that is sufficient, but not greater than

12   necessary, to effectuate the sentencing purposes set forth in 18 U.S.C. § 3553. In this case, with

13   this defendant and his history, that is a difficult task. Mr. Rush understands and accepts that he

14   needs to be punished. And the tragedy that stems from Mr. Carrillo’s actions cannot be

15   minimized. However, he requests that this Court sentence him for his criminal conduct and

16   adequately take into account how his mental illness affected his decision making during a

17   stressful period of time, and how this affects his culpability.

18          He also requests that this Court not add another element of trauma – custody – which he

19   will survive but will undoubtedly damage him further. He therefore requests a sentence that

20   allows him to keep his current job, address his myriad (primarily psychological) issues, and give

21   back to others by discussing his experience. Specifically, he requests a sentence that includes no

22   further custody time, and instead substitutes a 90 day term of imprisonment with a 90 day

23   inpatient PTSD program, followed by a period of home confinement or location monitoring that

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 1   restricts his liberty but enables him to keep his job, 100 hours of community service, part of

 2   which could be satisfied by him engaging with or speaking to others similarly situated (i.e.

 3   combat veterans with PTSD) by sharing his experience and helping others avoid the same

 4   pitfalls.1

 5            In addition to the personal and public shame he has suffered, such a sentence would

 6   adequately punish Mr. Rush but would not derail the progress he has made. It is justified

 7   considering his history of severe physical and psychological trauma suffered as a child, as well

 8   as that sustained while honorably serving his country and community. This is particularly

 9   apposite given that his service and history had the effect of contributing to the offense conduct

10   by making him paranoid and hypervigilant. Moreover, his history of employment and post-

11   offense rehabilitative efforts make him likely to perform well on supervision and avoid contact

12   with the criminal justice system again. Finally, the recommended sentence would be consistent

13   with those imposed for this same crime across the country and would therefore avoid sentencing

14   disparity.

15                   MENTAL HEALTH EVALUATION AND CONSIDERATIONS

16            To try to gain some understanding as to how Mr. Rush ended up committing this crime –

17   and the psychological factors associated with this particular offense conduct – counsel engaged

18   Dr. Rahm Minagawa, Ph.D, a licensed clinical and forensic psychologist with a twenty-plus year

19   history of working for the military and with veterans, and one of the leading experts in PTSD.2

20   (See attached, Ex. B, Confidential Psychological Report, filed under seal, and Ex. C, Dr.

21   Minagawa’s resume).

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23   1 In a case involving undersigned counsel, this Court has previously included, sua sponte, a similar requirement as a
     term of probation.
24   2 Dr. Minagawa can be available to testify if the Court requests to hear from him directly.



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 1          Dr. Minagawa administered six psychological tests and interviewed Mr. Rush at length.

 2   He also reviewed numerous documents and medical records. Dr. Minagawa found that Mr. Rush

 3   suffers from chronic PTSD and major depressive order with anxious distress. These diagnoses

 4   were consistent with those made by prior mental health providers in the military. In his report,

 5   he explains how Mr. Rush’s psychological damage (particularly severe and complex PTSD)

 6   from childhood trauma, heavy combat, and work in the security field affected his deliberate,

 7   balanced decision making, and contributed to his commission of the crime.

 8          The extensive testing, which confirms the above diagnoses and opinions, reveals

 9   significant elevations in anxiety, depression, and other factors confirming that Mr. Rush

10   continues to suffer from severe PTSD. They also show a level of consistency indicative of

11   accuracy and honesty in responding to the numerous questions. Of particular relevance to this

12   case and the Court’s ultimate decision on sentencing, Mr. Rush does not have a propensity for

13   violence, self-harm, or suicide. He does not present “any type of risk for imminent or future

14   violence.” Other noteworthy findings are as follows: Mr. Rush can be immature and impulsive;

15   he is experiencing an intense conflict between a desire to withdraw from relationships and a

16   strong fear of acting autonomously; he is aware that he depends on others but resents feeling

17   needy; there is a lack of concern of alcohol abuse.

18          Dr. Minagawa explains that childhood trauma – such as that experienced by the young

19   Jessie Rush – has the effect of physically altering the brain. As a result of that trauma alone, Mr.

20   Rush was “already at great risk” to develop psychological problems: “because childhood abuse

21   occurs during the critical formative time when the brain in being physically sculped by

22   experience, the impact of severe stress can…irreversibly alter neural development.” In essence,

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 1   the brain is altered as a result of processing the abuse, leading to a high likelihood of mental

 2   illness.

 3              Consistent with that history, Mr. Rush has a very elevated Adverse Childhood

 4   Experience (ACE) score of six. The research shows that individuals with a score of four or

 5   greater are twice as likely to be diagnosed with cancer and 460% more likely to suffer from

 6   depression. Finally, an ACE score of six or greater is shown to shorten an individual’s lifespan

 7   by almost twenty years. This means that, as a result of Mr. Rush’s troubling childhood trauma

 8   alone – without factoring in the effects of his military and other service – he is almost certain to

 9   suffer severe physical and psychological consequences, including an assuredly shortened

10   lifespan.

11              Dr. Minagawa discusses some of the factors that are relevant to Mr. Rush’s commission

12   of the crime and why he opines that treatment can be successful. He notes that Mr. Rush accepts

13   full responsibility for his offense and demonstrates appropriate remorse for his conduct. He

14   highlights how Mr. Rush’s protective and defensive nature contributed to his offense conduct.

15   This character trait has been a consistent theme in Mr. Rush’s life, from seeking to protect his

16   brother from his father’s abuse, participating in the Sea Cadets and Police Explorers, enlisting in

17   the military, trying to save a young girl from abuse, and working as a firefighter, EMT, and in

18   private security. The evaluation also highlights the importance of Mr. Rush’s need for a sense

19   of belonging. This desire is best illustrated by Mr. Rush’s explanation of what was so important

20   to him about his experience in the military: a “feeling of total acceptance” by his enlisted peers

21   that Mr. Rush describes as the “complete, purest form of trust.” Undoubtedly, this feeling was so

22   important to Mr. Rush given the lack of consistency, stability, and acceptance that he

23   experienced throughout his childhood and teen years. Dr. Minagawa explains that Mr. Rush

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 1   tried to recreate this feeling with the Grizzly Scouts during a particularly stressful time in his

 2   life: he lost his job as a result of the pandemic’s effect on the economy; he was inundated with

 3   conspiracy theories on social media; he felt as if the country was about to tear itself apart; he

 4   was angry at law enforcement’s behavior towards protestors; he was still suffering from

 5   nightmares, disturbances of sleep and flashbacks; and he was experiencing marital issues.

 6          In Mr. Rush’s telling, he explained that he views himself as having two separate

 7   personas, “Jessie” and “Rush.” “Jessie” is the more mellow persona and “Rush” is the more

 8   militaristic and action-oriented persona. Leading up to his participation with the Grizzly Scouts

 9   and commission of the offense conduct, he became more paranoid, fearful, and insecure, which

10   is when “Rush” took over to “get a sense of control and direction, and to counter all of the chaos

11   that was going on around him.”

12          Dr. Minagawa concludes that despite the concerning behavior and lack of judgment

13   illustrated by the offense conduct, Mr. Rush is an “excellent candidate for treatment;” in

14   essence, his ability to exercise sound judgment can be restored. Dr. Minagawa notes that Mr.

15   Rush does not present any type of risk for imminent or future violence, nor does he have a

16   history of violent behavior as a child or adult; he completed his military assignments with great

17   distinction, earning numerous commendations; he has evidenced a history of compliance during

18   pretrial supervision and in the military; and perhaps most importantly, there is a significant

19   element of “buy-in” by Mr. Rush to the need for and benefits of therapy. He demonstrates

20   recognition and insight into the issues that have plagued him throughout his life, and led him to

21   committing the offense in this case.

22          Dr. Minagawa recommends one of the several residential treatment programs geared

23   towards treating veterans – like Mr. Rush – suffering from PTSD. He notes that Mr. Rush

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 1   expressed a desire for such a program, as well as continued treatment, and that his work would

 2   enable him to take a leave of absence to obtain such treatment. This latter point is critical, as Mr.

 3   Rush’s current job seems to provide a perfect hybrid for a person like him: it allows him to use

 4   his skills to help others while limiting the level of trauma he experiences. It also allows him to

 5   explore other, “non traumatic” ways to work with and help others, while providing him with

 6   stability and an important avenue for growth.

 7              PROBATION REPORT AND RECOMMENDATION; OBJECTIONS

 8          U.S. Probation Officer Jessica Goldsberry prepared a thorough and thoughtful

 9   Presentence Investigation Report (PSR) in this matter. The Guidelines calculations (adjusted

10   offense level of 11) are consistent with the terms of the parties’ plea agreement and there is no

11   dispute with the calculation of Mr. Rush’s Criminal History Category (I). Mr. Rush has no

12   objection to those calculations; nor does he have an objection to the content contained in the

13   report. He only requests a slight modification to the ultimate sentence recommended.

14                       PERSONAL HISTORY AND CHARACTERISTICS

15          The PSR thoroughly summarizes Mr. Rush’s sad and traumatic upbringing. The first

16   five years of his life consisted of being bounced around between his mother, various family

17   members, and foster care (including what he has described as an orphanage as well as a foster

18   family). His mother was 17 years old when he was born, and was ill equipped to raise a child.

19   She also had her own issues, getting into trouble and apparently suffering from substance abuse

20   issues when he was a young child.

21          Then at age five, he moved in with his father and stepmother. It was made clear to him

22   that he was not really part of the family, as he was the product of his father cheating on his

23   stepmother (while she was pregnant) with Mr. Rush’s mother. For the next six years, he suffered

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 1   serious physical, emotional, and psychological trauma, discussed in detail in the PSR. The

 2   young Jessie Rush and his half-siblings were beaten regularly for even the most minor error,

 3   including being punched and kicked, beaten with a belt, and having his earlobes pulled so hard

 4   they would partially detach. These attacks would often result in visible injuries.

 5          He also describes having no “bodily autonomy,” as his father would regularly monitor

 6   how he washed himself in the shower or went to the bathroom, on some occasions bringing his

 7   siblings in to watch. Indeed, he explains that it was not until he was in the military that he was

 8   able to use a public restroom. He was also forced to undergo rigorous exercises and diets related

 9   to sports and his weight, including being on starvation diets, drinking lots of water before dinner

10   so that he felt full, and chugging energy drinks before games. He explains how this led to him

11   having issues with weight and diet since, explaining that he sometimes binge eats and sometimes

12   does not eat at all. He is still working through these problems to this day.

13          During this period of time, his mother got her life back on track, and Mr. Rush went to

14   live with her and her husband at age eleven. He describes this as a positive period in his life, as

15   his stepfather was good to him and was a positive role model. However, he recounts how scarred

16   he was, once responding to being verbally disciplined by exclaiming, in a fit of tears, “when are

17   you going to hit me?” He also had panic attacks prior to going to visit his father.

18          He finally disclosed his father’s abuse to his mother. But shortly thereafter, when Mr.

19   Rush’s stepbrother visited covered in bruises, he recanted the abuse to his mother so that he

20   could spend weekends at his father’s house in order to protect his brother. He explains that while

21   she likely did not believe him, she allowed him to return there but gave him a cell phone in case

22   there were issues. Given that his father was afraid of Mr. Rush’s stepfather, there was no abuse

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 1   of Mr. Rush or his siblings during those visits. However, Mr. Rush never received any treatment

 2   to process the trauma. Rather, as is a theme in his life, he simply moved forward.

 3          During high school, Mr. Rush struggled with school and acted out. However, he found

 4   some direction in extracurricular activities: he joined the Sea Cadets and Police Explorers

 5   programs, which his mother describes as very important to him. (See Ex. D). Nonetheless, he

 6   had problems with drinking, using drugs, and getting into fights. His mother had a difficult time

 7   dealing with him and, for the last couple years of high school, sent him back to live with his

 8   abusive father. This culminated in his father strangling Mr. Rush, who punched him back, and

 9   Mr. Rush being prosecuted. At that time, however, Mr. Rush was already seeking to join the

10   Army, and a recruiter helped him resolve the matter. He then graduated from high school early

11   and joined the Army at age 17.

12          At the end of his military term, he was told that he had a daughter with an ex-girlfriend

13   who had substance abuse issues. When Mr. Rush went to meet his daughter, he saw evidence of

14   abuse and neglect, likely at the hands of the mother’s then boyfriend. Despite the fact that Mr.

15   Rush’s mother convinced him that she was not his biological daughter – the timing of

16   conception would have happened when he was out of the country – Mr. Rush expressed a need

17   to save her from the abuse, telling her that he “needed to save her.” (See Ex. D, letter from

18   Christian Soares). He petitioned for custody and cared for her for the next year or two. Given the

19   serious mental health issues he was dealing with after his service, the biological mother’s family

20   told him they could care for the girl, and everyone agreed that would be best.

21          After his military service (discussed below), he worked various odd jobs as a bouncer or

22   in security. At age 23, he married Julie Rush, a woman 17 years his senior (the same age as Mr.

23   Rush’s mother). While he is dedicated to her and their relationship, it has caused a lot of strain.

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 1   He is unsure if their marriage will survive. He also wonders whether he rushed into such a

 2   serious relationship so quickly in order to distract him from his own problems.

 3   Jessie Rush’s Military Service and Service to the Community

 4          As detailed in the PSR, Mr. Rush served his country honorably. He enlisted in the Army

 5   at age 17. After basic training, he was deployed to Afghanistan and served in combat shortly

 6   after turning 19 years old. His unit was charged with providing security to a Navy Seal unit in

 7   the Northern Provinces and, as a result, he was involved in very heavy fighting on an almost

 8   daily basis for a year. As described in the letter from his sergeant (See Ex. D, letter from Sgt.

 9   Charles Fowler), his assignment was the such that he “truly witnessed atrocities of war.” He

10   observed carnage and death on a daily basis. This included attempting to save a civilian whose

11   intestines were falling out by holding them in place with his hands. He witnessed the remains of

12   a child blown up by an IED, a civilian whose legs were blown off after stepping on a landmine.

13   He saw a teenager killed by the Taliban because he wouldn’t work with then. On one occasion,

14   his unit was bringing books and other supplies to a local school; the Taliban threw a grenade

15   into the school and he recalls seeing the remains of the various children who were killed. He was

16   in Afghanistan at the time Osama bin Laden was killed; he recalls that in the weeks thereafter,

17   IEDs were everywhere. He still has “survivor’s guilt” from seeing the remains of a family blown

18   up by an IED that was meant for his platoon. Others in his unit were injured and killed,

19   including one of his closest friends from basic training. Then in the years after discharge,

20   multiple of his friends from the military died (one from an overdose, another from a brain

21   aneurism, and a third from suicide).

22          Mr. Rush also sustained physical injury himself when a rocket propelled grenade hit his

23   armored vehicle. His vehicle toppled over and he was thrown into radio equipment and the

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 1   vehicle’s bulletproof windows. That incident resulted in traumatic brain injury (TBI) and

 2   injuries to his shoulder that required surgery. Indeed, had he reported that physical injury at the

 3   time, he would have been medically discharged and received the Purple Heart. He did not report

 4   the severity of the injury until later so that he could return to fight with his unit after a two-week

 5   stint of rest and recuperation (“R&R”). He did not feel right leaving his unit behind.

 6          After two tours in Afghanistan, he returned to Germany and then to Ft. Sill in Oklahoma.

 7   While there, he experienced serious flashbacks, nightmares, and self-medicated with alcohol.

 8   He also attempted suicide: a friend found him passed out in the bathroom with an empty bottle

 9   of vodka and an empty pill bottle. He was taken to the hospital and his stomach was pumped. It

10   got serious enough that his sergeant helped him enroll in an inpatient program. He was

11   eventually medically discharged from the military, deemed 80% disabled, primarily due to

12   PTSD. He was bestowed numerous awards and commendations.

13          After discharge in 2014, Mr. Rush did not receive mental health treatment until he was

14   released from custody on pretrial release in April, 2020. He explains that while he sought out

15   mental health treatment through the VA, obtaining appointments and treatment was difficult. He

16   simply moved on, avoiding the hard work of processing his trauma, and moving onto the next

17   job.

18          After a few stints working as a bouncer and security guard, Mr. Rush worked as an EMT

19   and a firefighter. The latter job was his career goal; however, he would not get completely hired

20   on as a full-time firefighter and as a result, needed to move on. Given his EMT training, he

21   worked as an EMT, another rewarding job helping others. However, it also caused him to

22   witness the results of accidents and other traumatic circumstances.

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 1          That eventually became too much for him, so he returned to security, ultimately landing

 2   jobs in executive security. While he was well-prepared and trained for such work due to his

 3   military and combat history, it also caused him to live life through a lens of threat assessment.

 4   An otherwise good job he was well-suited for that paid well had the effect of exacerbating his

 5   paranoia and vigilance.

 6          Mr. Rush currently works as an on-site medical representative at a large warehouse. He

 7   deals with immediate triage and provides basic medical care. He finds the job a healthy balance

 8   of rewarding in that he can help others, but without having to regularly respond to more severe

 9   events that were common as a firefighter and EMT. At work, he also has avenues to assist

10   others: he can apply for donations from his employer to those in need, and recently obtained a

11   $40,000 donation to a rural, impoverished school district; he is the head of the veteran’s

12   committee and is setting up a “Warrior Week” there, as well as working to hire more veterans.

13   His job currently provides him a healthy and structured outlet to be productive, contributing, and

14   help others while avoiding some of the risks that were prevalent in his prior employment. He

15   also has the ability to take a medical leave of absence from work to attend an inpatient PTSD

16   program, and be able to return to his job thereafter. Between his VA benefits and medical

17   insurance, there are programs for which he can qualify.

18                                SENTENCING CONSIDERATIONS

19          In determining a reasonable and appropriate sentence, the Court must consider those

20   factors set forth in 18 U.S.C. 3553(a), including the nature and circumstances of the offense and

21   the history and characteristics of the defendant. The Guidelines are advisory, Gall v. United

22   States, 552 U.S. 38, 46-47 (2007), and there is no presumption in favor of a Guidelines’

23   calculation. Nelson v. United States, 555 U.S. 350, 352 (2009) (citation omitted) (“Our cases do

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 1   not allow a sentencing court to presume that a sentence within the applicable Guidelines range is

 2   reasonable. In Rita we said as much, in fairly explicit terms: “‘[T]he sentencing court does not

 3   enjoy the benefit of a legal presumption that the Guidelines sentence should apply.’”). The

 4   District Court is thus not required to use a formulaic approach to produce a mathematical

 5   justification for a non-Guidelines sentence. Gall, 128 S.Ct at 596. Rather, it must exercise a

 6   “reasoned sentencing judgment, resting upon an effort to filter the Guidelines’ general advice

 7   through § 3553(a)’s list of factors. Rita v. United States, 127 S. Ct. 2456, 2469 (2007). In short,

 8   the District Court’s duty is to impose the least amount of time necessary to achieve 3553(a)’s

 9   purposes. The Guidelines are subordinate to that duty.

10          When this Court applies the section 3553(a) factors to Mr. Rush, the following

11   circumstances, which are not considered by the Guidelines, warrant a variance: (1) Mr. Rush’s

12   serious ongoing mental health issues, which directly contributed to his offense conduct and will

13   only be exacerbated by imprisonment; (2) Mr. Rush’s cumulative life exposure to serious

14   trauma, including physical, psychological, and emotional abuse; (3) Mr. Rush’s exceptional

15   history of service to his country and community; (4) Mr. Rush’s perfect compliance on pretrial

16   release, including his employment history and importance of maintaining his current job; and (5)

17   the need to avoid sentencing disparity between Mr. Rush and others who have been sentenced

18   around the country for similar violations.

19      A. Mr. Rush’s mental health issues, including continuing severe PTSD, justify a
           downward variance
20
            The 2010 amendments to the Sentencing Guidelines “demonstrate that, where mental
21
     illness . . . [is] a contributing factor greatly or even only limitedly in a crime, such defendants are
22
     more likely less-deserving of punishment . . . . [I]n fashioning an appropriate sentence, courts
23
     are now required to consider, and factor in, a defendant's mental illness if they are to be faithful
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 1   to § 3553(a).” Ferguson, 942 F. Supp. 2d at 1194 (M.D. Ala. 2013). In Ferguson, the district

 2   court explained in detail how the federal courts should consider a defendant’s diminished

 3   capacity to accurately evaluate his culpability for criminal conduct:

 4          The Commission's policy statement on mental and emotional conditions compliments
            USSG § 5K2.13, which identifies diminished capacity as a basis for downward
 5          departure on the ground that it may not have been taken into consideration otherwise in
            calculating the guidelines range. USSG § 5K2.0(a)(2)(A). This provision authorizes
 6          diminished-capacity departures where “the defendant committed the offense while
            suffering from a significantly reduced mental capacity; and the significantly reduced
 7          mental capacity contributed substantially to the commission of the offense.” USSG §
            5K2.13. It “comprehends both organic dysfunction and behavioral disturbances” so long
 8          as those conditions “impair the formation of reasoned judgments.” United States v.
            Cantu, 12 F.3d 1506, 1513 (9th Cir.1993) (finding PTSD, mood disorders, and
 9          schizophrenia qualify the defendant for a diminished-capacity departure to the extent
            they frustrate his ability to make reasoned decisions).
10
            Together, the amendments and policy statements reflect the principle that “punishment
11          should be directly related to the personal culpability of the criminal defendant.” Penry v.
            Lynaugh, 492 U.S. 302, 319, 109 S.Ct. 2934, 106 L.Ed.2d 256 (1989), abrogated on
12          other grounds, Atkins v. Virginia, 536 U.S. 304, 307, 122 S.Ct. 2242, 153 L.Ed.2d 335
            (2002). A few “exceptionally” mentally ill defendants may be found incompetent to
13          stand trial or judged not guilty by reason of insanity; however, there also exists a
            spectrum of mental deficits and diseases that lessen, but do not erase, a person's
14          responsibility for her crimes. See Jennifer S. Bard, Re–Arranging Deck Chairs on the
            Titanic: Why the Incarceration of Individuals with Serious Mental Illness Violates
15          Public Health, Ethical, and Constitutional Principles and Therefore Cannot Be Made
            Right by Piecemeal Changes to the Insanity Defense, 5 Hous. J. Health L. & Pol'y 1, 4–5
16          (2005). “[E]vidence about [a] defendant's background and character is relevant” to the
            sentencing decision, “because of the belief, long held by this society, that defendants
17          who commit criminal acts that are attributable to a disadvantaged background, or to
            emotional and mental problems, may be less culpable than defendants who have no such
18          excuse.” Penry, 492 U.S. at 319, 109 S.Ct. 2934 (quoting California v. Brown, 479 U.S.
            538, 545, 107 S.Ct. 837, 93 L.Ed.2d 934 (1987) (O'Connor, J., concurring)). In addition,
19          the traditional rationales for punishment have less force when applied to mentally ill and
            cognitively limited defendants. Cantu, 12 F.3d at 1516; United States v. Poff, 926 F.2d
20          588, 595 (7th Cir.1991) (en banc) (Easterbook, J., dissenting), cert. denied, 502 U.S.
            827, 112 S.Ct. 96, 116 L.Ed.2d 67 (1991). “Desert (blameworthiness) loses some bite
21          because those with reduced ability to reason, or to control their impulses, are less
            deserving of punishment than those who act of viciousness or greed,” Cantu, 12 F.3d at
22          1516; “Deterrence has less value ... because people with reduced capacities are less
            susceptible to a system of punishment and reward.” Id.
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 1   Id. at 1192–93. In Ferguson, the district court found that the defendant’s “untreated [PTSD] and

 2   borderline-impaired IQ were related to [her] involvement in” the charged offense and therefore

 3   justified a below-Guidelines sentence. Id. at 1194. In sum, “where mental illness or cognitive

 4   deficits are a contributing factor greatly or even only limitedly in a crime, such defendants are

 5   more likely less-deserving of punishment for punishment’s sake than are those without such

 6   limitations.” Id.

 7          Similarly, Jessie Rush’s mental health issues made him prone to feelings of isolation,

 8   paranoia, and hypervigilance, all of which contributed to the offense conduct. He tried to

 9   replicate the sense of belonging, and therefore safety, that he had in the military with the Grizzly

10   Scouts during a distressful period in his life. While these factors do not negate his guilt, they are

11   all important considerations that militate for a variance.

12          And despite that fact that he has received some treatment – both while in the military and

13   on pretrial release over the past several months – the testing confirms that even today, Mr. Rush

14   continues to suffer from severe PTSD and depression. Dr. Minagawa opines, however, that Mr.

15   Rush is an excellent candidate for treatment. Since he has access to treatment specifically

16   tailored for his primary issues – PTSD and depression – and an ability to attend this residential

17   treatment without giving up a job that has been beneficial to him, it is requested that Mr. Rush be

18   sentenced to no further incarceration and instead be ordered to attend and complete a 90-day

19   residential PTSD program. This will not only be of value to Mr. Rush, but treatment for mental

20   illness will also reduce the risk of recidivism. Mr. Rush’s untreated mental health issues

21   therefore warrant a variance.

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 1      B. Mr. Rush’s exceptional, cumulative life exposure to tragedy and trauma warrants a
           downward variance.
 2
            The trauma Mr. Rush suffered through his life, and particularly during his early
 3
     childhood, is another appropriate ground for variance: “it requires no citation of authority to
 4
     assert that children who are abused in their youth generally face extraordinary problems
 5
     developing into responsible, productive citizens.” Santosky v. Kramer, 455 U.S. 745, 789
 6
     (1982). The fact that in the first five years of his life he was abandoned by his parents, ended up
 7
     in foster care, and then bounced around between various family members who apparently did
 8
     not want to care for him, would have a profound detrimental effect on anyone. For the young
 9
     Jessie Rush, however, that was only the beginning of the trauma and abuse: when he finally
10
     lived with a parent in a situation that should have provided some stability, he suffered extreme
11
     physical, emotional, and psychological abuse. As noted by Dr. Minagawa, and supported by
12
     research into childhood trauma, the damage was done and his neural development was
13
     irreversibly altered. Indeed, the data shows that as a result of the various adverse childhood
14
     experiences, his lifespan will be cut short, perhaps by as much as twenty years. The
15
     consequences of such trauma and abuse therefore also support a downward variance.
16
        C. Mr. Rush’s Military Service and Service to the Community Warrant a Downward
17         Variance

18          Courts have varied downward where the defendant’s past behavior demonstrates charity,

19   integrity, or devotion to public service. See, e.g., United States v. Canova, 412 F.3d 331, 358-9

20   (2nd Cir. 2005) (affirming six-level downward departure based on extraordinary public service

21   and good works where the defendant, more than twenty years before sentencing, served in the

22   Marine Corps’ active reserves and as a volunteer firefighter, and more recently had acted as a

23   “Good Samaritan” demonstrating his commitment to helping persons in distress was an

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 1   instinctive part of his character); United States v. Baird, 580 F. Supp. 2d 889, 894 (D. Neb.

 2   2008) (varying down by twenty-two months in child pornography case considering, among other

 3   factors, the defendant’s military history in which he served in Iraq and Afghanistan and received

 4   numerous commendations); United States v. Cooper, 394 F.3d 172 (3d Cir. 2005) (affirming

 5   four-level departure to probation in securities fraud and tax evasion case based on defendant’s

 6   good work where he did not simply donate money to charity but organized and ran a youth

 7   football team in a depressed area and helped members attend better schools and go to college);

 8   United States v. Warner, 792 F.3d 847 (7th Cir. 2014) (affirming probationary sentenced where

 9   tax evasion Guidelines were 46-57 months due to defendant’s exceptional acts of charity and

10   demonstrated concern for the welfare of others).

11          Jessie Rush’s history is replete with examples of a character committed to helping others.

12   This began as an adolescent when he recanted his history of abuse so that he would be able to

13   return to his father’s home to protect his brother. It continued into high school when he joined

14   the Sea Cadets and Police Explorer’s groups, and eventually enlisted in the military. After return

15   from combat and discharge from the military, he tried to save a young child from abuse. Then he

16   worked as a paramedic and firefighter, and thereafter in private security. As outlined above, in

17   the PSR, and in Dr. Minagawa’s report, all this service to his country, community, and others

18   came at a high cost to Mr. Rush: he is severely damaged and will need years of treatment to

19   process and address this damage and trauma.

20          This history of service therefore warrants the small variance requested.

21      D. Mr. Rush’s employment history and compliance on supervision warrants a variance

22          A defendant’s exemplary work history may also merit a variance. See, e.g., Gall v.

23   United States, 552 U.S. 38, 42 (2007) (affirming variance to probation where, post-arrest, the

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 1   defendant obtained a college degree and stared his own business); United States v. Munoz-Nava,

 2   524 F.3d 1137 (10th Cir. 2008) (variance down to a year and a day from a Guidelines range of

 3   46-57 months, citing in part defendant’s “long and consistent work history” at a legitimate job);

 4   United States v. Big Crow, 898 F.2d 1326, 1331-2 (8th Cir. 1990) (downward departure for 23

 5   year old defendant in an assault case based on excellent employment record since age 17 despite

 6   an unemployment rate of 72% on Indian reservation).

 7              Mr. Rush has always worked and been productive, primarily in jobs that serve others at

 8   the expense of physical and psychological risk to himself. He has done this work selflessly to the

 9   detriment of his personal health. This employment history is yet another basis for a variance in

10   this case.

11         E. The requested sentence is consistent with sentences imposed for similar Guidelines
              profiles across the country
12
                Undersigned counsel had sentencing data compiled for sentenced defendants across the
13
     country with similar Guidelines profile characteristics to Mr. Rush. Specifically, the profiles
14
     focused on individuals whose offense levels were from the same USSG section (§2J1.2), a
15
     Criminal History Category I, with a base offense level of 14 and an adjusted offense level of 13
16
     (an offense level two points higher than that of Mr. Rush). The sentencing results show that
17
     these defendants, whose Guidelines range are higher than that of Mr. Rush, were largely
18
     sentenced to probation or time served. (See Ex. E, Declaration of Jordan Schaer and Sentencing
19
     Analysis).3
20

21
     3   There are three profiles, as described below with the following nationwide results:
22
           (1) Base offense level 14 with adjusted offense level of 13: 42.74% were sentenced to probation nationwide
           (2) Base offense level 14 with adjusted offense level of 13 using the same offense enhancement as in this case
23              (2J1.2(b)(3)(B)): 50.77% of defendants were sentenced to probation nationwide
           (3) Base offense level 14 with adjusted offense level of 13 sentenced to time served: 83.72% received
24              probation and 90.70% were sentenced to 5 months or less (this includes the probationary sentences)

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 1          The sentence requested in this case is therefore consistent with the sentences of other

 2   defendants across the country who committed similar conduct. Indeed, given that Mr. Rush’s

 3   Guidelines range is lower than that of the comparative defendants, coupled with his significant

 4   mitigating circumstances and service to his country and community, shows that the sentence

 5   requested is reasonable and appropriate, and avoids unwarranted disparity among similarly

 6   situated defendants.

 7                                           CONCLUSION

 8          Given the reasons cited above, Mr. Rush respectfully requests that this Court impose a

 9   sentence that includes no further custodial time so that he can engage in intensive treatment

10   while being able to maintain his job. He therefore requests a sentence of probation or time

11   served, to be followed by supervision that includes as a condition that he attend and complete a

12   90-day inpatient PTSD program, and have his liberty limited or restricted (e.g., by home

13   confinement or imposition of a curfew) at the discretion of Probation in a manner that enables

14   him to keep his current job. He agrees with the remaining recommended terms of supervision

15   outlined in the PSR.

16

17   Dated: December 28, 2021                     Respectfully Submitted:

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19                                                ____________/s/_____________
                                                  Adam Pennella
20                                                Counsel for Jessie Rush

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